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David Marc Solet
August 30, 2017
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                             Volume 1, Pages 1-92

                             Exhibits: 1-7

          IN THE UNITED STATES DISTRICT COURT

           FOR THE DISTRICT OF MASSACHUSETTS



 * * * * * * * * * * * * * * * * * *

 DAVID SETH WORMAN, et al.,

                   Plaintiffs,

 vs.

 CHARLES D. BAKER, in his official

 capacity as Governor of the

 Commonwealth of Massachusetts, et al.,

                   Defendants

 * * * * * * * * * * * * * * * * * *

   Rule 30(b)(6) DEPOSITION OF EXECUTIVE OFFICE OF

  PUBLIC SAFETY AND SECURITY (by David Marc Solet)

         Wednesday, August 30, 2017, 9:31 a.m.

           Campbell Campbell Edwards & Conroy

          One Constitution Plaza, Third Floor

            Charlestown, Massachusetts 02129



         ------- Alan H. Brock, RDR, CRR-------

                      C.J. Reporting

                      P.O. Box 1373

               Andover, Massachusetts 01810

                      617.763.1725



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                                                                                2 (Pages 2 to 5)
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 1 APPEARANCES:                                  1                 INDEX
 2   Bradley Arant Boult Cummings LLP            2
 3   Marc A. Nardone, Esq.                       3             EXAMINATIONS
 4   John Parker Sweeney, Esq.                   4    DAVID MARC SOLET
 5   1615 L Street, N.W., Suite 1350             5      MR. NARDONE                        5
 6   Washington, D.C. 20036                      6             EXHIBITS MARKED
 7   202.719.8256                                7    1    Subpoena                     5
 8   mnardon@bradley.com                         8    2    Responses of Defendant Daniel        5
 9   jsweeney@bradley.com                        9        Bennett to Plaintiffs' First Set
10 for Plaintiffs                               10        of Interrogatories to all
11                                              11        defendants
12 Campbell Campbell Edwards & Conroy           12    3    Responses of Defendant Daniel        5
13 Christopher R. Howe, Esq.                    13        Bennett to Plaintiffs' First Set
14 One Constitution Plaza, Third Floor          14        of Requests for the Production of
15 Charlestown, Massachusetts 02129             15        Documents
16 617.241.3000 fax: 617.241.5115               16    4    Spreadsheet                  28
17 chowe@campbell-trial-lawyers                 17    5    Printouts of UCR Data, Table 20, 50
18 for Plaintiffs                               18        For the Years 2005 Through 2015
19                                              19    6    Notice of Enforcement             61
20                                              20    7    Remarks of Attorney General Maura 79
21                                              21        Healey
22                                              22
23                                              23   Exhibits returned to Attorney Nardone
24                                              24
                                            3                                                        5
 1    Office of the Attorney General             1            August 30, 2017       9:31 a.m.
 2    William W. Porter, Esq.                    2              PROCEEDINGS
 3    Gary Klein, Esq.                           3            (Exhibit 1 marked for identification.)
 4    Assistant Attorneys General                4            (Exhibit 2 marked for identification.)
 5    One Ashburton Place                        5            (Exhibit 3 marked for identification.)
 6    Boston, Massachusetts 02108                6               DAVID MARC SOLET,
 7    617.963.2959                               7   being first duly sworn or affirmed to testify to the
 8    bill.porter@state.ma.us                    8   truth, the whole truth, and nothing but the truth,
 9    gary.klein@state.ma.us                     9   was examined and testified as follows:
10    for Defendants                            10            MR. NARDONE: For the record, my name is
11                                              11   Marc Nardone, counsel for the plaintiffs in the case
12                                              12   styled David Seth Worman et al. versus Charles D.
13                                              13   Baker, in his official capacity as Governor of the
14                                              14   Commonwealth of Massachusetts, et al.
15                                              15                  EXAMINATION
16                                              16   BY MR. NARDONE:
17                                              17      Q. Could you please state your full name and
18                                              18   job title for the record, please.
19                                              19      A. My name is David Marc Solet, and Marc is
20                                              20   spelled with a c. I'm the chief legal counsel at
21                                              21   the Executive Office of Public Safety and Security
22                                              22   for the Commonwealth of Massachusetts.
23                                              23      Q. And have you ever had your deposition taken
24                                              24   before?

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 1      A. I have not.                                       1   feeding devices under that same provision, but I
 2      Q. We'll go over a few ground rules here.            2   don't believe I ever charged anybody with the
 3   Please try to keep your voice up so the court           3   assault weapon. I used typically a different
 4   reporter can hear everything. Please wait until         4   provision of law to do that.
 5   I've finished asking all the question before you        5      Q. And what provision of law would that be?
 6   start to respond. He can only take one of us down       6      A. It would depend on the fact scenario, but
 7   at a time. If any of the questions that I ask are       7   sometimes I would charge under Chapter 265, Section
 8   unclear or anything like that, please just ask me to    8   18B, I believe is the use of a large-capacity weapon
 9   restate it or rephrase it, tell me you don't            9   in the commission of a felony. If, for instance, it
10   understand, and we'll try to work through that. If     10   was an ongoing drug operation and the weapon was
11   you want to take a break at any time, just let me      11   recovered, I might use that. Or if the person had
12   know and we can stop. The only issue is, if there's    12   qualifying prior convictions, I would use Chapter
13   a question pending, I'll ask that you let me finish    13   269, Section 10, capital G, which is sometimes
14   it before we take a break. Does that all make          14   referred to as the Armed Career Criminal Act,
15   sense?                                                 15   because that would carry a stronger penalty under
16      A. Yes.                                             16   those circumstances.
17            MR. PORTER: I'd like to just note the         17      Q. So it's safe to say that if an assault
18   stipulation I hope we can keep from yesterday, which   18   weapon were used in a crime, it's not necessarily
19   is that all objections except as to the form of the    19   the case that a prosecution would result under
20   question and all motions to strike are reserved        20   Chapter 131M?
21   until the time of trial.                               21      A. That's right.
22            MR. NARDONE: That's fine.                     22      Q. If you could take a look at that document I
23      Q. How long have you been in your current           23   handed you, marked as Exhibit 1, and just briefly
24   position?                                              24   flip through it and let me know if you've seen that

                                                      7                                                           9
 1      A. I came over to the Executive Office of            1   before.
 2   Public Safety in April of 2015.                         2      A. I have, yes.
 3      Q. And what did you do before that?                  3      Q. And if you could turn to, near the end
 4      A. I was a prosecutor in the Middlesex               4   there is a list of topics with a header called
 5   District Attorney's office since 2001.                  5   Attachment A. Have you seen that list?
 6      Q. And what kind of crimes did you prosecute         6      A. I have.
 7   generally?                                              7      Q. And it's my understanding, and please
 8      A. At the time that I left the office I was          8   correct me if I'm wrong, that there are some of
 9   the general counsel of the Middlesex DA's office,       9   these topics that you're going to be testifying
10   and I was handling a mixture of serious violent        10   about but not all of them today?
11   crimes, like homicides, and organized crime            11      A. That's correct.
12   offenses, particularly wiretap investigations.         12      Q. And which topics are you going to be
13      Q. And in your role as a prosecutor, did you        13   testifying about?
14   ever prosecute anyone for a violation of the           14      A. I think the intention is that I testify to
15   Massachusetts assault weapons ban?                     15   1 through 8.
16      A. I don't believe that I ever used Chapter         16      Q. Okay. And you're prepared to testify to
17   140, Section 131M. I did prosecute multiple people     17   all of those; correct?
18   for possessing weapons that would be classified as     18      A. And I think probably also, to the extent
19   assault weapons under that statute.                    19   that somebody is testifying, I think that Michaela
20      Q. I'm going to hand you what's been marked as      20   Dunne is probably going to testify to 9, 10, and
21   Exhibit 1. If you could take a look at that.           21   11 -- but as to 13 and 14, if it was one of us.
22      A. Can I just clarify? So you asked about           22            MR. PORTER: If I may: I think
23   weapons, and I said not under that statute. I'm        23   Michaela's covering 9 through 12; right? Does that
24   certain that I prosecuted people for large-capacity    24   look right?

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 1   because -- well, the witness can answer if he has       1   cause any undue delay.
 2   information based on public information. But to the     2            MR. NARDONE: It's about 11:00 o'clock,
 3   extent the witness is concerned right now that if he    3   so I imagine a lunch break will probably be right
 4   answers he may be disclosing information he has         4   around where we're talking about.
 5   received in the context of an attorney-client           5            MR. KLEIN: Are you confident enough
 6   communication or in the context of a law enforcement    6   that I can call her and let her know --
 7   investigation, I would instruct him not to answer       7            MR. NARDONE: I'm not prepared to give
 8   that.                                                   8   an exact time right now.
 9      A. Then I'm going to decline to answer that          9            (Discussion off the record.)
10   question.                                              10      Q. Is anyone in EOPSS responsible for
11      Q. Is EOPSS continuing to provide firearms          11   determining whether a firearm is a copy or
12   records to the Attorney General in response to         12   duplicate?
13   requests for -- under the review that was part of      13      A. There's nobody who has primary
14   the notice of enforcement?                             14   responsibility. There's no single person who that's
15            MR. PORTER: This question I'll permit         15   their primary responsibility. State Troopers who
16   an answer to if the witness knows, but no more         16   are charged with enforcing the laws of
17   detail than this, because it will involve --           17   Massachusetts, parole officers who have a similar
18            MR. NARDONE: I haven't asked any other        18   role, if they were to encounter a weapon, that would
19   questions.                                             19   be part of their responsibility in terms of
20            MR. PORTER: I understand, but it will         20   determining whether it was evidence of a crime or
21   involve privileged material if it gets into more       21   not evidence of a crime.
22   detail. If the witness knows.                          22      Q. So the law enforcement officers and
23      A. The answer is yes.                               23   probation officers under the umbrella of EOPSS would
24      Q. In the Attorney General's remarks related        24   have that --

                                                    71                                                           73
 1   to the notice of enforcement, she stated that tens   1         A. Not probation officers. Parole officers
 2   of thousands of copies or duplicates had been sold   2      are EOPSS personnel.
 3   in 2015. Do you know if this number came from EOPSS 3          Q. So the law enforcement officers and parole
 4   records?                                             4      officers under EOPSS would have that responsibility
 5      A. I expect that it would have, but I don't       5      in the field.
 6   know. I wasn't part of the team that assembled       6         A. That's right.
 7   statistics for the Attorney General.                 7         Q. If you know, does EOPSS have any written
 8      Q. Did anyone in your office work with the        8      protocols as to how to determine whether a weapon is
 9   Attorney General in the promulgation of the notice   9      a copy or duplicate?
10   of enforcement?                                     10         A. No. I think that the personnel would be
11      A. In the notice of the promulgation? Meaning    11      relying on the Attorney General's guidance, which is
12   the drafting of the documents that you showed me,   12      the document that you've shown.
13   what's been marked as Exhibit 6?                    13         Q. So if you could turn to Page 4 of that
14      Q. That's correct.                               14      document, which is Exhibit 6. It states that, in
15      A. No.                                           15      the second paragraph below the number 2, it states,
16            MR. PORTER: Sorry, Marc. I have no         16      "The fact that a weapon is or has been marketed by
17   idea where you're at in your outline. We were going 17      the manufacturer on the basis that it is the same as
18   to call Ms. Dunne and give her 20 minutes' notice.  18      or substantially similar to one or more enumerated
19   Just let me know when you get there. We can text or 19      weapons will be relevant to identifying whether the
20   call her, and then she'll drive over. She's about   20      weapon is a copy or duplicate." Do you see that
21   15 minutes away.                                    21      statement?
22            MR. NARDONE: Okay. I'll be very            22         A. I do.
23   cognizant of that.                                  23         Q. What is EOPSS's position on what the word
24            MR. PORTER: I'm just saying that to not    24      "relevant" means there?

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